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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: FTX Cryptocurrency Exchange Collapse Litigation                            MDL No. 3076

                                    PROOF OF SERVICE

In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel on
Multidistrict Litigation, I hereby certify that copies of the foregoing Response in Opposition to
Lucky D. Plaintiffs’ Motion to Vacate Conditional Transfer Order 1 were served on all parties in
the following case electronically via ECF, or as indicated below, on July 19, 2023.

Lucky D., et al. v. Prager Metis, LLP & Armanino, LLC, D. New Jersey No. 2:23-cv-00389-
MCA-JRA

Served via Email

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 Dated: July 19, 2023                               Respectfully submitted,

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